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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF WEST VIRGINIA

UNITED STATES OF AMERICA,
                Plaintiff,

       v.                                            Criminal No. 1:03CR49-5

HEATHER MICHELE CECIL,
              Defendant.

                                        ORDER/OPINION

       On the 24th day of May 2007, came the defendant, Heather Michele Cecil, in person and by

her counsel, Brian J. Kornbrath, and also came the United States by its Assistant United States

Attorney, Zelda E. Wesley, pursuant to a Petition for Warrant or Summons for Offender Under

Supervision filed in this case on May 9, 2007, and an Amended Petition filed May 23, 2007,

alleging:

1)     Violation of Mandatory Condition No. 1: While on supervised release, the defendant shall

       not commit another federal, state or local crime. The defendant shall not illegally possess

       a controlled substance.

2)     Violation of Standard Condition No. 7: The defendant shall refrain from excessive use of

       alcohol and shall not purchase, use, distribute or administer any controlled substance or any

       paraphernalia related to any controlled substance, except as prescribed by a physician.

       On April 30, 2007, the defendant furnished a urine specimen which was confirmed positive

for cocaine by Kroll Laboratory Specialists, Inc. On May 2, 2007.

3)     Violation of Mandatory Condition No. 1: While on supervised release, the defendant shall

       not commit another federal, state or local crime.

       On May 13, 2007, the defendant was arrested by the Clarksburg city Police Department and

charged with domestic Battery . . . .
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4)      Violation of Standard Condition No. 7: The defendant shall refrain from excessive use of

        alcohol and shall not purchase, use, distribute or administer any controlled substance or any

        paraphernalia related to any controlled substance, except as prescribed by a physician.

        Subsequent to her arrest on May 13, 2007, the defendant submitted to an alcohol test on the

Intoxilyzer 5000 at the Clarksburg Police Department. The test results indicate the defendant’s

blood alcohol content was .190 . . . .

        The defendant’s Probation Officer noted that Defendant denied any use of cocaine at the time

of the drug test on April 30, 2007. After the drug test was confirmed positive, the Probation Officer

met with Defendant to discuss the matter. Defendant continued to deny any use of cocaine. She had

no explanation as to how she could have tested positive for cocaine. The Probation Officer further

noted that Defendant is currently under an improvement period with the Department of Health and

Human Resources and the Family Court of Monongalia County, West Virginia, in an effort to regain

custody of her four children.

        Prior to the taking of evidence, Defendant waived the preliminary hearing in writing,

conceding probable cause existed to forward this revocation matter to Chief United States District

Judge Irene M. Keeley for hearing and disposition.

        The Court then explained the charges contained in the Petitions and the effect of the

proposed waiver to Defendant and inquired of her as to the voluntariness of her decision to waive

the preliminary hearing. From the colloquy between the Court and the defendant, the Court

concludes Defendant’s decision to waive the preliminary hearing was knowingly and voluntarily

made.

        Upon consideration of all which, the Court finds there is probable cause to believe that the

defendant violated conditions of her supervised release as alleged in the Petition for Warrant or
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Summons for Offender Under Supervision filed on May 9, 2007 and the Amended Petition filed

May 23, 2007.

       It is therefore ORDERED that the defendant be bound over for a full hearing before the

Honorable Irene M. Keeley, Chief United States District Judge for the Northern District of West

Virginia on the violations alleged in the Petition for Warrant or Summons for Offender Under

Supervision filed on May 9, 2007, and the Amended Petition filed May 23, 2007.

       Defendant, through counsel, then requested she be permitted to remain on supervised release

pending further proceedings in this matter. Defendant asserted the victim of the alleged domestic

incident no longer lives with her, and they are in fact not permitted to have contact with each other

pursuant to their respective State bonds. She suggested she could undergo more frequent alcohol

and drug testing, and could go to the Probation Office daily. Defendant also stated she had been on

release from July 2006 until her April 30, 2007, with no violations.

       The United States stated it had no real objection to Defendant’s continued release, except

for a concern that she had used alcohol and admitted to using cocaine. The United States believed

that with increased testing, it would have no objection to Defendant’s release. The United States

commented that, prior to this incident, Defendant had tested negative for drugs consistently, and had

walked a couple of miles several days a week in order to visit with her children, of whom she is

attempting to regain custody.

       The Court raised the issue of the safety of the community. The Court then found that based

on the strong probable cause related to the allegations in the Petitions, and the fact that the

allegations included violence, the court would DENY the motion for release pending further

proceedings.

       It is therefore ORDERED that Defendant is remanded to the custody of the United States
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marshal pending further proceedings..

       The Clerk of the Court is directed to send a copy of this order to counsel of record.

       DATED: May 25, 2007
                                                     /s John S. Kaull
                                                     JOHN S. KAULL
                                                     UNITED STATES MAGISTRATE JUDGE
